Exhibit B
                                                                                       Execution Version




            DEFAULT PREVENTION AND COLLECTION SERVICES AGREEMENT



            This Default Prevention and Collection Services Agreement (hereinafter "Agreement") is
entered into by and between First Marblehead Education Resources, Inc. ("FMER"), a Delaware
corporation with a principal place of business at 800 Boylston St., 34ft Floor, Boston, MA 02199
(together with its successors and assigns, the "Special Servicer") and NCO Financial Systems,
Inc., a corporation organized under the laws of the Commonwealth of Pennsylvania having a
place of business at 507 Prudential Road, Horsham, PA 19044 (together with its successors and
assigns, "NCO"). This Agreement is executed as of March 1, 2009.

            WHEREAS, FMER as the initial Special Servicer currently provides administration
services to certain Delaware statutory trusts (the "Trusts") consisting of alternative student loans
("ASLs"), including the provision of default prevention and collection management services
pursuant to that certain Special Servicing Agreement entered into by and among FMER as
Special Servicer, U.S. Bank National Association ("U.S. Bank"), as the Back-Up Special
Servicer (in such capacity, the "Back-Up Special Servicer") and the Trusts party thereto and
dated as of March 1, 2009 (the "Special Servicing Agreement");

            WHEREAS, NCO provides default prevention and collections services (the "Services")
to financial institutions;

            WHEREAS, the initial Special Servicer desires to arrange for the outsourcing of certain
default prevention and collections acti vities to NCO as hereinafter provided in the event that the
Back-Up Special Servicer becomes the Special Servicer under the Special Servicing Agreement
pursuant to Section 8 of the Special Servicing Agreement; and



            WHEREAS, NCO is willing to provide certain default prevention and collection
activities as herein provided in the event that the Back-Up Special Servicer becomes the Special
Servicer.

            NOW THEREFORE, in consideration of these presents and the covenants contained
herein the parties hereto hereby agree as follows:

                                         ARTICLE 1 - DEFINITIONS

                1.1    Definitions

                "ASL" means an education-purpose loan made by a lender pursuant to the Program
Guidelines and now or formerly guaranteed by The Education Resources Institute, Inc.
("TERI"), and such other education loans as the parties may agree to in writing in the future.

                "ASL Lender" means the party that originally funded an ASL purchased by a Trust.

                "Attempt" means a left message for the borrower or, if applicable, and cosigner of ASL.

                "Borrower Data" has the meaning set forth in Section 7.1 .

                "Claims Package" has the meaning set forth in Section 2.3.

                "Confidential Information" has the meaning set forth in Section 7.1.

                "Contact" means a telephonic discussion with the borrower and/or cosigner(s) of an ASL.




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             "Dedicated Staff' has the meaning set forth in Section 2.10(b).

             "Default Collection Reports" means the reports set forth on Exhibit E attached hereto.

             "Default Collection Services" means NCO performed default collection services as set
forth on Exhibit D attached hereto, and oversight of Default Collectors under Default Collection
Agreement(s).

             "Default Prevention Reports" means the reports set forth on Exhibit C attached hereto.

             "Default Prevention Services" means the services described in Section 2.2 and Exhibit B
attached hereto.

             "Early Awareness Services" means the services described in Section 2.9 and Exhibit G
attached hereto.

       "Governmental Authority" means the federal government of the United States, any state
government, or any political subdivision of either, or any agency, court or body of the federal
government of the United States, of any state, or of any other political subdivision of either,
exercising executive, legislative, judicial, regulatory or administrative functions.

             "Guaranty Agreement" means the document by that name between each ASL Lender and
TERI.

             "Program Guidelines" means the document by that name included as a part of the
Guaranty Agreement.

             "Requirements of Law" means, with respect to any person, any certificate of
incorporation, articles of association and, as applicable, by-laws or other organizational or
governing documents of such person, and any law, ordinance, statute, rule, regulation, judgment,
order, decree, injunction, permit, issuance or other determination, finding, guidance or
recommendation of any Governmental Authority or final and binding determination of any
arbitrator applicable to or binding upon such person or to which such person is subject, whether
federal, state, county or local (including, if applicable, usury laws, the federal Truth-In-Lending
Act, the federal Fair Debt Collection Practices Act, the federal Equal Credit Opportunity Act, the
federal Fair Credit Reporting Act, the Gramm-Leach-Bliley Act, the Telephone Consumer
Protection Act, the Telemarketing and Consumer Fraud and Abuse Prevention Act, regulations
of the Board of Governors of the Federal Reserve System, and regulations of the Office of
Foreign Assets Control, each as amended from time to time).

                 "Servicers" means the Pennsylvania Higher Education Association Agency, d/b/a
American Education Services; Nelnet, Inc., Edfinancial Services, LLC; ACS Education Services,
Inc., Chase Student Loan Servicing LLC (f/k/a CFS SunTech Servicing LLC); and Great Lakes
Higher Education Servicing Corporation.

                 "Services" means Default Collection Services, Default Prevention Services, Early
Awareness Services and Fraud Claims Review.

                 "Servicing Guidelines" means the document by that name included as part of the
Guaranty Agreement.

      "Subservicers" means Special Servicer approved subservicers retained by NCO in
conformity with the requirements of Section 2.12 of this Agreement to perform part of the
Services.




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                                            ARTICLE II - SERVICES

            2.1       Services Generally.    Special Servicer hereby retains NCO to perform the Services
set forth herein in the event that, and only in the event that, Special Servicer (including for the
avoidance of doubt, U.S. Bank in its capacity as successor Special Servicer) notifies NCO in
writing that the Back-Up Special Servicer has assumed the duties of the Special Servicer
pursuant to Section 8 of the Special Servicing Agreement. The parties acknowledge and agree
that the foregoing reference to the Special Servicing Agreement is intended only as a reference to
the conditions under which performance of the Services under this Agreement will begin; it is
does not and shall not create duties or obligations for NCO under the Special Servicing
Agreement. The parties further agree that upon U.S. Bank assuming the duties of Special
Servicer under the Servicing Agreement, all references to "Special Servicer" in this Agreement
shall, unless otherwise provided or the context otherwise requires, be deemed to refer to U.S.
Bank acting in such capacity. The date of the beginning of the performance of services by NCO
referenced in the foregoing sentence shall be the "Effective Date" for purposes of this Agreement
(it being acknowledged that NCO shall commence performance of the Services set forth herein
immediately upon being notified of the assumption by the Back-Up Special Servicer of the duties
of the Special Servicer under the Special Servicing Agreement or such later date (if any) as shall
be specified in such written notice). In order for NCO to carry out its duties under this
Agreement with respect to the Services, as of the Effective Date, the initial Special Servicer shall
cause the Servicers to provide to NCO (a) consumer file data in the manner and form described
in Exhibit A (as amended from time to time by Special Servicer), and (b) view-only access to
borrower ASL accounts on the Servicers' systems. NCO shall use such data for the purposes of
performing the Services, risk modeling, providing reports as set forth in this Agreement,
forecasting and billing.

            2.2       Default Prevention Services. NCO shall perform Default Prevention Services in
conformity with those Default Prevention Services set forth in Exhibit B attached hereto. NCO
shall provide Dedicated Staff to make outbound calls related to accounts thirty (30) days or
greater past due referred by Special Servicer and receive inbound calls resulting from NCO's
efforts. NCO will also draft and mail letters and conduct other activities reasonably calculated to
perform the Services.

                      (a)    NCO shall provide reports to Special Servicer with respect to the results of
Default Prevention Services performed by NCO with the frequency and having the content
described in Exhibit C ("Default Prevention Reports").

                      (b)    NCO shall perform Default Prevention Services in order to maximize
"cures" of delinquent loans. "Cures" include: (i) incenting ASL borrowers who are thirty (30)
days past due but less than one hundred and eighty (180) days past due to become less than thirty
(30) days past due, and (ii) incenting borrowers who are one hundred and eighty (180) days past
due with respect to whom the appropriate Servicer has not yet submitted a Claims Package to
become less than thirty (30) days past due.

                2.3   Default Collection Services. NCO shall perform Default Collection Services in
conformity with those Default Collection Services set forth herein and in Exhibit D attached
hereto. NCO shall use Dedicated Staff to perform Default Collection Services. Special Servicer
shall cause the Servicers to provide to NCO all documents and information specified in the




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Servicing Guidelines to make a claim under the Guaranty to TERI, other than: (i) original notes
and (ii) a loan assignment to TERI (the "Claims Package").

                 (a)   Generally.

                       (i)     Special Servicer shall review the Claims Package for conformity to
the Servicing Guidelines and Program Guidelines. Special Servicer shall return the Claims
Package to the Servicers for further collection efforts and/or cure by the Servicers as provided in
the Servicing Guidelines and Special Servicer's servicing agreement if it detects Servicer error as
prescribed in the Servicing Guidelines.

                       (ii)    NCO shall reconcile all cash collections with its reported results of
operations and transmit all cash receipts (net of the fees set forth on Exhibit H) weekly to Special
Servicer. NCO shall provide the Default Collection Reports set forth in Exhibit E. NCO shall
assign defaulted ASLs as needed to optimize collection.

                       (iii)   From time to time Special Servicer may instruct NCO with respect
to collection costs, default interest rates and other adjustments to be made to account balances
submitted pursuant to Special Servicer's direction by Servicers to NCO with a Claims Package
("Default Charges"). Special Servicer represents and warrants that all such Default Charges
shall conform to all Requirements of Law. Any breach of the foregoing representation shall be
subject of indemnification by Special Servicer under Section 8. NCO shall have no
responsibility to attempt to collect any Default Charges, whether or not authorized by the ASL
documents, except as instructed by Special Servicer.

                 (b)   Collection and Credit Reporting Services.

                       (i)     NCO will use all reasonable and lawful efforts to collect the full
amount due on all accounts placed with it by Special Servicer for collection. Special Servicer
may place with NCO various First, Second and Third Placements, as defined in Exhibit D
attached hereto and incorporated herein. The full amount due on each account will consist of
principal; accrued interest; late fees, if any; and any collection costs and attorneys' fees awarded
by a court of competent jurisdiction pursuant to a final judgment and recoverable under the terms
of the loan agreement, as well as extrajudicial collection costs recoverable under applicable law.
NCO will keep full and accurate records of all borrower Contacts and other collection activity.
NCO may negotiate and revise any borrower's repayment schedule in any manner approved in
writing by an authorized representative or agent of Special Servicer. NCO may not reduce the
amount due on any account, or otherwise decrease the borrower's aggregate obligation on the
account, without specific prior written consent of an authorized representative or agent of Special
Servicer, except as expressly set forth in this Agreement.

                       (ii)    NCO will report the status of each post-default account whenever
placed to the three national credit reporting agencies currently known as Equifax, TransUnion
and Experian (f/k/a TRW), subject to the provisions of Article V. Reporting the status of an
account shall include reporting the status with respect to all co-debtors.

                       (iii)   Special Servicer reserves the right to restrict or otherwise limit at
any time, from time to time, the manner or means to be used by NCO in collecting any account,
which restrictions may be communicated to NCO by Special Servicer orally or in writing, at
Special Servicer's sole discretion.




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                  (c)    Source and Timing of Fee Payments. Notwithstanding the fee provisions
set forth in Article III, fees due NCO for Default Collection Services, including costs and
expenses related to litigation, will be paid on a loan-by-loan basis out of funds held in the
Account (as defined in Section 2.6). Fees will be billed weekly and NCO may withdraw billed
fees from the Account at such time (i.e., weekly) as it forwards the Account balances to Special
Servicer.

            2.4   Litigation Management. As part of the Default Collection Services, NCO shall
administer collection litigation as described in this section and in Exhibit D attached hereto.
Special Servicer may also from time to time designate loans as to which assessment and recovery
of collection costs from the borrower in an extrajudicial context are allowed by applicable law,
by way of contract or otherwise. NCO will use all reasonable and lawful efforts to collect such
collection costs as directed by Special Servicer.

NCO may, with Special Servicer's prior written approval, forward accounts for litigation to an
attorney licensed to practice law in the applicable jurisdiction and acceptable to Special Servicer.
NCO will handle all routine communication with the attorney on Special Servicer's behalf and
will be responsible for monitoring the attorney's performance in litigating the case, collecting on
the accounts pre-judgment and collecting on any judgment or settlement. Except in the case
where there is no media availability, any decision regarding settlement, dismissal of the action,
or the removal of an attorney will require Special Servicer's written consent. Special Servicer
recognizes that back up media, sworn statements of account, affidavits and other documentation
may be required to pursue legal treatment on accounts placed with NCO. In the event that
documentation is required, Special Servicer will comply with NCO's request for media and
follow request procedures as agreed upon in work standards. If Special Servicer can not comply
with media or documentation requests within a fourteen (14) day period, NCO reserves the right
to dismiss any legal action, with our without prejudice and close and return the account back to
Special Servicer. In the event that lack of media or documentation results in liability for NCO or
Special Servicer, Special Servicer bears the burden of indemnification. At all times, Special
Servicer and not NCO will be the client of the collection attorney. Special Servicer agrees
promptly to provide all available documentation, written testimony, witnesses and other
reasonably necessary materials and assistance requested by NCO in support of such litigation.

                  (a)    NCO shall be responsible for selecting and directly supervising collection
attorneys. NCO will submit lists of collection attorneys used by NCO to Special Servicer, and
Special Servicer may, at any time, prohibit the submission of new litigation files to an attorney
on its behalf.

                  (b)    All collection attorneys shall be paid by NCO and Special Servicer shall
have no obligation to pay such attorneys.

                  (c)    NCO will provide evidentiary support for collection attorneys, including
basic factual orientation, copies of documents, records of account balances, affidavits and
testimony, as reasonably required. Special Servicer will instruct Servicers to provide original
documents to NCO upon request from NCO. For this purpose, Special Servicer on behalf of the
Trusts hereby appoints NCO as keeper of the applicable Trust's records of all ASLs that are the
subject of NCO administration.




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                      (d)   NCO shall supervise the progress of collection litigation and review the
progress of their assigned litigation quarterly. Such review shall include the establishment and
prosecution of appropriate post-judgment enforcement, to the extent lawful.

                      (e)   NCO may compromise ASL claims in exchange for immediate payment of
                                          of all outstanding principal, interest and other amounts due to
Special Servicer. Additional settlement authority given to NCO, if any, is described in Exhibit F,
attached hereto. Special Servicer agrees to designate a business contact with authority to review
and approve collection settlement proposals with NCO.

                      (f)    NCO shall promptly transmit to Special Servicer any pleadings or other
documents it receives relating to counterclaims naming Special Servicer or any Trust in
collection litigation. Upon request, NCO shall assist Special Servicer with respect to
management of counterclaims naming Special Servicer or any Trust as a party, including
management of local counsel in consultation with Special Servicer.

                      (g)    All court costs and related expenses, including hourly billing charges,
incurred in connection with a legal proceeding shall be paid as set forth in Section 2.3(c). For
audit and reconciliation purposes, NCO shall itemize costs for each borrower and the amount and
purpose of each expense. Special Servicer will not advance the pre-payment of such costs, and
will only reimburse costs that have actually been incurred. The attorney must receive Special
Servicer's or NCO's prior written approval before incurring any expense (other than a filing fee,
process server fee, or other court cost) in excess of $500.

            2.5       Special Accounts.

                      (a)    In the event any debtor with respect to any ASL that is the subject of
Services becomes a debtor under the U.S. Bankruptcy Code, NCO shall immediately cease all
Services and submit the file to Special Servicer unless Special Servicer otherwise directs in
writing.

Special Servicer undertakes that it will not send to NCO accounts for collection on any
indebtedness that it has reason to believe are subject to any bankruptcy proceeding and that it
will indemnify and hold harmless NCO from any and all claims and legal actions asserted
against NCO, and all money damages and legal costs incurred by NCO, to the extent that the
same result solely from Special Servicer's failure to observe such requirement.

                      (b)    In the event any debtor with respect to any ASL that is the subject of
Services is deceased, NCO may accept from the Servicers the documentation specified under
"Death Claim" under the Servicing Guidelines and may collect the ASL.

                2.6   Special Servicer Funds Account. NCO will credit all funds received from debtors
into an FDIC-insured trust fund account (the "Account") for Special Servicer in trust for the
benefit of each Trust, which will segregate said funds from NCO's own funds and from the funds
of all other NCO clients. Any interest earned on the Account will be forwarded to Special
Servicer twice annually at a time Special Servicer directs, or upon reasonable notice by Special
Servicer. For purposes of this Agreement and except as set forth in this Agreement, the funds in
the Account will be the sole property of Special Servicer in trust for each Trust, and NCO will
have no right to pay such funds to any person other than Special Servicer except as specifically
authorized in this Agreement. NCO will remit to Special Servicer on a weekly basis on a
specified day of every week (or at different periodic intervals chosen by Special Servicer), by




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wire transfer to a Special Servieer-designated account, all funds in the Account representing
payments received by NCO for the previous week (or alternative periodic interval chosen by
Special Servicer), except fees owed to NCO for Default Collection Services (which shall be
payable to NCO as set forth in Section 2.3(c)). NCO will submit a report with such wire,
described more fully in Exhibit E attached hereto. Special Servicer will promptly notify NCO of
any payment that Special Servicer receives directly from a debtor whose account has been
assigned to NCO, and will promptly remit to NCO the fee due to NCO with respect to such
payment.

            2.7        Tax Reporting. NCO shall provide on Special Servicer's behalf all tax reporting
required under the federal Internal Revenue Code on defaulted ASLs serviced hereunder,
including but not limited to reporting required under sections 1098 and 1099 thereof.

            2.8        Early Awareness Services.

                       (a)    NCO shall perform Early Awareness Services in conformity with those
Early Awareness Services set forth herein and in Exhibit G attached hereto. NCO shall use
Dedicated Staff to develop and carry out a "Borrower Repayment Education And Counseling"
program for borrowers about to enter repayment. The specific objective of this program is to
educate borrowers of upcoming payment requirements and advise borrowers, if authorized under
the circumstances, of the existence of defennent, forbearance and modified graduated
repayments ("MGRS") alternatives under applicable Program Guidelines, to reduce the number
and percentage of borrowers becoming subsequently delinquent in the repayment process.

                       (b)    The purpose of each borrower Contact will be to:

                              (i)     Remind borrowers of upcoming payment requirements.

                              (ii)    Get "commitment/promise" from borrowers that they are prepared
and intend to meet their payment requirements (for example, by signing up for ACH repayment).

                              (iii)   Identify borrowers who may have concerns about ability to meet
payment requirements.

                              (iv)    Advise borrowers, only if authorized under the circumstances, of
the existence of deferment, forbearance and modified graduated repayments MGRS alternatives
under existing Program Guidelines.

                       (c)    NCO hereby acknowledges that (i) the Servicing Guidelines articulate the
specific circumstances under which NCO may advise borrowers of each of the deferment,
forbearance and MGRS alternatives; (ii) it is Special Servicer's objective to maximize the
number and percentage of borrowers entering repayment as scheduled, (iii) borrowers will be
advised of the deferment, forbearance and MGRS alternatives only in accordance with the
Servicing Guidelines, and (iii) nothing in this Agreement shall be construed to authorize NCO to
offer, provide or enroll borrowers in deferment, forbearance or MGRS alternatives except as set
forth in the Servicing Guidelines.

                2.10   Staffing. NCO represents and warrants the following with regard to all staff
providing the Services to Special Servicer:

                       (a)    NCO's employees and/or agents are adequately trained to perform the
Services with reasonable diligence, in a professional manner, and in compliance with any and all
applicable laws and regulations and that NCO's Services will be in compliance with Federal,




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state, and local laws, rales and regulations as now in effect and as amended from time-to-time to
the extent they are applicable to the subject matter of this Agreement,

                        (b)   NCO shall provide staffing through its employees and other personnel to
Special Servicer (the "Dedicated Staff"). The Dedicated Staff shall only work on Special
Servicer ASLs and will perform the Services as directed by the Special Servicer.

                        (c)   Except as provided Section 2.1 1 ("NCO Personnel") hereof, NCO shall be
responsible for all aspects of providing the Dedicated Staff to perform the Services, including
staffing selection, hiring, firing, supervision, and disciplinary procedures, and NCO shall be
responsible for all wages, salaries, benefits, workers compensation, unemployment compensation
and other amounts due to the Dedicated Staff as well as the withholding of applicable taxes,
FICA, and FUTA, provided, however, that nothing contained herein shall be deemed to limit
Special Servicer overall management and supervision of the Dedicated Staff and other NCO
personnel as more particularly described herein below.

                        (d)   NCO shall provide the Dedicated Staff at levels mutually agreed upon by
Special Servicer and NCO.

                        (e)   NCO is solely responsible for all aspects of training the Dedicated Staff to
perform the Services as required under this Agreement, including training in connection with the
Special Servicer's policies and procedures.

                        (f)   NCO shall be responsible for providing all office and clerical supplies and
equipment (fax machines, headsets, copiers, copy paper, pens, forms, etc.) as well as workstation
computers, telecommunications all other equipment, materials and furniture necessary to perform
the Services.

                        (g)   NCO will provide management personnel to support the Dedicated Staff
required under this Agreement.

                 2.11   NCO Personnel.

                        (a)   NCO's employees are not eligible to participate in any of the employee
benefit or similar programs of Special Servicer. NCO shall inform all of its employees providing
Services pursuant to this Agreement that they will not be considered employees of Special
Servicer for any purpose, and that Special Servicer shall not be liable to any of them as an
employer for any claims or causes of action arising out of or relating to their assignment.

                        (b)   Upon the request of Special Servicer for reasonable cause, NCO shall
immediately remove any of NCO's employees or Subservicers performing Services under this
Agreement at Special Servicer's premises and replace such employee or Subservicer as soon as
practicable. Upon the request of Special Servicer, NCO shall promptly, and after consultation
with Special Servicer, address any concerns or issues raised by Special Servicer regarding any of
NCO's employees or Subservicers performing Services under this Agreement at premises other
than Special Servicer premises, which may include, as appropriate, removing such employee or
Subservicer from the Special Servicer account.

                        (c)   NCO shall comply and shall cause its employees and any Subservicers to
comply with all personnel, facility, safety and security rales and regulations and other
instructions of Special Servicer provided to NCO, its employees or Subservicers, as applicable,
in writing, when performing work at a Special Servicer facility, and shall conduct its work at




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Special Servicer facilities in such a manner as to avoid endangering the safety, or interfering with
the responsibilities of, Special Servicer employees or customers. NCO understands that Special
Servicer operates under various laws and regulations that are unique to the security-sensitive
financial services industry. As such, persons engaged by NCO to provide Services under this
Agreement are held to a higher standard of conduct and scrutiny than in other industries or
business enterprises. NCO agrees that its employees and Subservicers providing Services
hereunder shall possess appropriate character, disposition and honesty.

                (d)    NCO shall not knowingly permit any of its employees or any Subservicer
to have access to the Confidential Information, premises, records or data of Special Servicer or
any Trust when such employee or Subservicer: (i) has been convicted of a crime or has agreed to
or entered into a pretrial diversion or similar program in connection with: (A) a dishonest act or
a breach of trust, as set forth in Section 19 of the Federal Deposit Insurance Act, 12 U.S.C.
1829(a); or (B) a felony; or (ii) uses illegal drugs. Notwithstanding anything in this Agreement
to the contrary, NCO shall conduct background checks on its employees and those of its
Subservicers who will have access (whether physical, remote, or otherwise and whether on or off
Special Servicer premises) to Confidential Information or Special Servicer facilities, equipment,
systems or data. Such background checks must include, at a minimum the following: (i) the
search of such person's social security number to verify the individual's identity and current and
previous addresses; (ii) a criminal background search of all court records in each venue of such
person's current and previous address over the past five (5) years; (iii) a minimum of one (1)
confirmed work reference prior to assignment at NCO; and (iv) the validation of United States
citizenship or certification to work in the United States. Additional requirements may be
specified by Special Servicer from time to time. NCO shall report to Special Servicer the results
of all background checks prior to such employee or Subservicer being granted such access or
performing Services hereunder.

                (e)    Unless this Agreement specifically provides otherwise, all Services must
be performed in the United States (or, with respect to borrowers who are residents of Canada, in
Canada) and all Confidential Information must be stored, maintained, accessed from, and utilized
only in the United States (or, with respect to borrower who are residents of Canada, in Canada).
In the event that NCO employs non-U. S. citizens to provide services hereunder, NCO shall
ensure that all such persons have and maintain appropriate visas to enable them to provide the
Services.

                (f)    Special Servicer shall notify NCO of any act of dishonesty or breach of
trust committed against Special Servicer, which may involve an employee or Subservicer of
NCO of which Special Servicer becomes aware, and NCO shall notify Special Servicer if it
becomes aware of any such offense. Following such notice, at the request of Special Servicer
and to the extent permitted by law, NCO shall cooperate with investigations conducted by or on
behalf of Special Servicer.

                (g)    All employees and Subservicers of NCO performing Services or
supporting NCO activities under this Agreement, regardless of their location, shall be validated
by NCO to not be on any list published and maintained by the Government of the United States
of America of persons or entities with whom any U.S. person or entity is prohibited from
conducting business. Currently, the lists of such persons or entities can be found on the
following web sites:




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                                i.      Denied Persons List on the Bureau of Industry and Security at
http://www.bis.doe.gov/dpl/default.shtm.

                                ii.     The Specially Designated Nationals and Blocked Persons List of
the Office of Foreign Assets Control - Department of Treasury at
http ://www . ustreas . gov/offices/enforcement/ofac/sdn/index .html .

                                NCO shall conduct periodic reviews, no less frequently than quarterly, of
the lists mentioned above. NCO shall report to Special Servicer immediately if the name of any
NCO employee or Subservicer performing the Services matches with the name of any person
listed on any list published by the Government of the U.S. of persons or entities with whom any
U.S. person or entity is prohibited from doing business.

                         (h)    Special Servicer shall provide notice to NCO of any changes in Dedicated
Staff levels by the 1 5th of every month for changes to be effective on the 1st of the following
month; provided that Special Servicer shall provide NCO with a minimum of thirty (30) days
advance notice of any change involving more than ten percent (10%) of the total Dedicated Staff.

                2. 1 2   Subservicers. NCO shall not retain any Subservicer to provide Services under this
Agreement without first providing advance written notice to Special Servicer; provided,
however, NCO shall not permit any Subservicer to have access to Confidential Information,
including Borrower Data, without first providing to Special Servicer at least ten (10) days
advance written notice of the identity, qualifications, and general proposed activities of such
proposed Subservicer. Special Servicer may object to the selection of such proposed Subservicer
during said ten (10) day period, in which case NCO shall meet with Special Servicer to discuss
Special Servicer's objections and will not retain such Subservicer without Special Servicer's
written consent. If Special Servicer does not object within the then (10) day period, Special
Servicer shall be deemed to have approved such proposed Subservicer for all purposes disclosed
to Special Servicer in the applicable notice from NCO. Any consent by Special Servicer to the
engagement of a Subservicer under this Section 2. 12 shall not relieve NCO of any of its
obligations under this Agreement. NCO shall be responsible for the performance or
nonperformance of its Subservicers as if such performance or nonperformance were that of
NCO. Notwithstanding the foregoing, the entities listed on Schedule 2.12 attached hereto shall
be deemed approved Subservicers hereunder.

                                      ARTICLE III - FEES FOR SERVICES

                3.1      Fees for Services. In consideration of the Services, Special Servicer shall pay to
NCO the fees set forth in Exhibit H. NCO shall invoice Special Servicer monthly as of the last
date of each month. With the exception of fees due for Default Collection Services which are set
forth in Section 2.3(c) herein, invoices shall be due within thirty (30) days after invoice date.
NCO may submit invoices electronically in a mutually agreed format. Any amount not subject
to a bona fide dispute and unpaid more than thirty (30) days after invoice date shall be subject to
a late fee of one and one-half percent (1.5%) per month until paid in full. Monthly invoices shall
be accompanied by a loan level report in a format mutually acceptable to NCO and Special
Servicer enabling Special Servicer to reconcile the invoice with the services provided.

                3.2      Expenses. NCO will bear all its own expenses in connection with its services
hereunder. No thing or service costing more than one hundred dollars ($1 00.00) will be
purchased in regard to any account without prior written approval of an authorized representative




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or agent of Special Servicer, except for required court costs which are paid by Special Servicer
as set forth in Section 2.3(c) herein.

                   ARTICLE IV - REPRESENTATIONS AND WARRANTIES

            4. 1   Representations and Warranties of Special Servicer. Special Servicer hereby
represents and warrants to NCO as follows:

                   (a)    Organization. It is a national banking association organized, validly
existing and in good standing under the laws of the United States and has full power and
authority to conduct its business as it is presently being conducted.

                   (b)    Authorization. It has all necessary corporate authority and has taken all
necessary corporate action to enter into this Agreement, to consummate the transactions
contemplated hereby and to perform its obligations hereunder. This Agreement has been duly
executed and delivered by Special Servicer and is a legal, valid and binding obligation of Special
Servicer, enforceable against it in accordance with its terms, except as the enforcement thereof
may be limited by applicable bankruptcy, insolvency, rearrangement, reorganization or similar
debtor relief legi slation affecting the rights of creditors generally from time to time in effect and
by general principles of equity (regardless of whether such enforcement is sought in a proceeding
at law or in equity) and the discretion of the court before which any proceeding therefor may be
brought.

                   (c)    Absence of Conflicts. Neither the execution and delivery of this
Agreement by Special Servicer nor the performance by Special Servicer of its obligations
hereunder will result in (i) a violation of the articles of association of Special Servicer, (ii) a
breach of, or a default under, any contract, agreement, instrument, lease, commitment, franchise,
license, permit or authorization to which Special Servicer is a party or by which it or its assets
are bound, which breach or default would have a material adverse effect on its business or
financial condition or its ability to consummate the transactions contemplated hereby, or (iii) a
violation by Special Servicer of any Requirements of Law, which violation would have a
material adverse effect on Special Servicer's business or financial condition or its ability to
consummate the transactions contemplated hereby.

                   (d)    Consents and Approvals. Special Servicer has obtained any and all
consents, approvals or authorizations of, and made any and all declarations, filings or
registrations with, any Governmental Authority, or any other Person, required to be obtained or
made by Special Servicer in order to execute, deliver and perform its obligations under this
Agreement or consummate the transactions contemplated hereby, except where the failure to do
so would not have a material adverse effect on its business or financial condition or its ability to
consummate the transactions contemplated hereby. Special Servicer represents that it is fully
authorized and empowered to refer accounts to NCO for Services. Special Servicer represents
that any interest or additional charges added to any account by Special Servicer, or which Special
Servicer directs NCO to add, are authorized by contract or are otherwise authorized by law.

                   (e)    Litigation. There is no action, order, writ, injunction, judgment or decree
outstanding or claim, suit, litigation, proceeding, labor dispute, arbitral action or investigation
pending, or to the actual knowledge of Special Servicer threatened, against or relating to Special
Servicer that would have a material adverse effect on this Agreement or on Special Servicer's
ability to consummate the transactions contemplated hereby.




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                  (f)    Accounts. With respect to Default Collection Services, Special Servicer
undertakes that it will not send to NCO accounts for collection on any indebtedness that it has
reason to believe are subject to any bankruptcy proceeding and that it will indemnify and hold
harmless NCO from any and all claims and legal actions asserted against NCO, and all money
damages and legal costs incurred by NCO, to the extent that the same result solely from Special
Servicer's failure to observe such requirement

            4.2   Representati ons and Warranties of NCO. NCO hereby represents and warrants to
Special Servicer as follows:

                  (a)    Organization. It is duly organized, validly existing and in good standing
under the laws of the Commonwealth of Pennsylvania, and has full corporate power and
authority to conduct its business as it is presently being conducted.

                  (b)    Authorization. It has all necessary corporate authority and has taken all
necessary corporate action to enter into this Agreement to consummate the transactions
contemplated hereby and to perform its obligations hereunder. This Agreement has been duly
executed and delivered by NCO and is a legal, valid and binding obligation of NCO, enforceable
against it in accordance with its terms, except as the enforcement thereof may be limited by
applicable bankruptcy, insolvency, rearrangement, reorganization or similar debtor relief
legislation affecting the rights of creditors generally from time to time in effect and by general
principles of equity (regardless of whether such enforcement is sought in a proceeding at law or
in equity) and the discretion of the court before which any proceeding therefor may be brought.

                  (c)    Absence of Conflicts. Neither the execution and delivery of this
Agreement by NCO nor the performance by NCO of its obligations hereunder will result in (i) a
violation of the articles of incorporation or charter documents of NCO, (ii) a breach of, or a
default under any contract, agreement, instrument, lease, commitment, franchise, license, permit
or authorization to which NCO is a party or by which it or its assets are bound, which breach or
default would have a material adverse effect on its business or financial condition or its ability to
consummate the transactions contemplated hereby, or (iii) a violation by NCO of any
Requirements of Law, which violation would have a material adverse effect on NCO's business
or financial condition or its ability to consummate the transactions contemplated hereby.

                  (d)    Consents and Approvals. NCO has obtained any and all consents,
approvals or authorizations of, and made any and all declarations, filings or registrations with,
any Governmental Authority, or any other person, required to be obtained or made by NCO in
order to execute, deliver and perform its obligations under this Agreement or consummate the
transactions contemplated hereby, except where the failure to do so would not have a material
adverse effect on its business or financial condition or its ability to consummate the transactions
contemplated hereby.

                  (e)    Litigation. There is no action, order, writ, injunction, judgment or decree
outstanding or claim, suit, litigation, proceeding, labor dispute, arbitral action or investigation
pending, or to the actual knowledge of NCO threatened, against or relating to NCO that would
likely have a material adverse effect on this Agreement or on NCO's ability to consummate the
transactions contemplated hereby.

                  (f)    Best Efforts. NCO will utilize its best efforts and competence in rendering
services and in performing its duties hereunder and shall not use any method prohibited by




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federal, state or local laws, regulations or procedures, including but not limited to any applicable
consumer protection or bankruptcy laws, regulations or procedures in collecting the account
balances. . NCO has not, does not and will not represent, warrant, or guarantee the collections
or timing of any collections of any accounts assigned to it under this Agreement. Also, NCO
will not conduct its business in a manner calculated or reasonably expected to result in
unfavorable public opinion or notoriety to Special Servicer, Special Servicer or any Trust or to
result in litigation being threatened or instituted against Special Servicer, Special Servicer or any
Trust. NCO will promptly give oral and written notice to Special Servicer of any federal, state or
local administrative or court proceeding affecting NCO or any of its officers, agents, servants or
employees in the collection of Special Servicer's accounts.

                      (g)    Legal Proceedings. In the event of any lawsuit in which counterclaims are
interposed by a debtor, or where a debtor shall make any other claim against Special Servicer or
any Trusts, the same shall be immediately referred by NCO to Special Servicer and Special
Servicer shall have the right to intercede and defend such action. No criminal proceedings, real
property executions, bailable attachments, commitment orders or other enforcement proceedings,
except for the issuance of a subpoena to examine the debtor and restraining notices, shall be
instituted by NCO without prior written approval of Special Servicer.




                      ARTICLE V - GENERAL COVENANTS OF THE PARTIES

      5.1     Compliance With Requirements of Law. NCO and Special Servicer each shall
comply with all applicable Requirements of Law in performing its respective obligations under
this Agreement.

                      (a)    Collection Practices. NCO warrants and represents that it has special
knowledge and skills necessary to perform collection services properly, and has trained its
employees to use such knowledge and skills in the performance of such services. NCO further
warrants and represents that its performance of its obligations hereunder, including but not
limited to its collection and credit reporting practices, will fully comply with all applicable
Requirements of Law, and any and all rules of conduct required by Special Servicer from time to
time. NCO shall keep itself fully informed regarding existing and pending legislation and
regulatory rule-making or other action relating to collection and credit reporting practices and
procedures.

                      (b)    Licensing. NCO warrants that it will maintain in full force and effect all
licenses required under Applicable Law for the conduct of all activities contemplated by this
Agreement and comply with all Requirements of Law relative to its licenses. NCO will furnish
Special Servicer with copies of such licenses on request.

                      (c)    Records. NCO warrants that it will maintain all records required of it
under any Requirements of Law. It will furnish copies of all such records to Special Servicer
upon request.

                5.2   Insurance, etc. NCO warrants that it will maintain all insurance, bonds, capital
reserves, and the like that may be required of it under any Requirements of Law. NCO will
provide Special Servicer with satisfactory evidence thereof upon request.

                      (a)    Special Servicer will notify NCO of any facts known to it concerning a




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particular loan that may limit the collection activities that NCO can undertake with respect to
such loan, such as, without limitation, the fact that the borrower has notified Special Servicer that
he or she has retained counsel.

                 (b)    NCO shall, at all times and at NCO's cost and expense, keep in full force
and effect the following insurance coverages with insurers that have ratings from A.M. Best of
not less than "A" or a comparable rating from another nationally recognized rating agency
reasonably acceptable to Special Servicer:

                        i.      Employee dishonesty coverage at a limit not less than $1,000,000
per occurrence, insuring against theft or misappropriation of money or Confidential Information
of any affiliate or subsidiary of Special Servicer or any Trust for which NCO may be held legally
liable;

                        ii.     Professional liability/errors and omissions liability coverage at a
limit not less than $1,000,000 per occurrence, extending to Special Servicer, any affiliate or
subsidiary of Special Servicer or any Trust as additional insureds, insuring against claims for loss
attributable to wrongful acts of NCO, including wrongful acts of NCO's employees, in the
performance of Services under this Agreement;

                        iii.    Commercial general liability coverage on an occurrence basis,
including bodily injury liability, property damage liability, personal injury liability, and
contractual liability coverages, extending to Special Servicer, any affiliate or subsidiary of
Special Servicer or any Trust as additional insureds, with respect to claims arising from NCO's
operations in connection with this Agreement, at a combined single limit not less than
$ 1 ,000,000 per occurrence and combined annual aggregate liability limit of not less than
$2,000,000;

                        iv.     Business automobile liability coverage for claims of bodily injury
or property damage arising from the operation of vehicles owned, leased, hired or borrowed by
NCO or on NCO's behalf in connection with Services performed under this Agreement, at a
combined single limit not less than $1,000,000 per occurrence;

                        v.      Workers' compensation coverage providing statutory benefits as
required in any and all jurisdictions where Services will be performed under this Agreement;

                        vi.     Employer's liability coverage, extending to Special Servicer, any
affiliate or subsidiary of Special Servicer or any Trust as additional insureds, at limits not less
than $1,000,000 per accident for injury by accident, and $1,000,000 per employee and in the
aggregate for injury by disease;

                        vii.    Umbrella or excess liability coverage, extending to Special
Servicer, any affiliate or subsidiary of Special Servicer or any Trust as additional insureds, at a
limit not less than $4,000,000 per occurrence, which is to apply in excess of the commercial
general liability, business automobile liability and employer's liability coverages identified in
subparts (iii), (iv) and (vi) of this Paragraph 23(a).

                 (c)    Evidence of Insurance. NCO shall provide Special Servicer with
certificates of insurance providing evidence of all these required coverages prior to the
commencement of Services under this Agreement, and thereafter upon the renewal or
replacement of any of the policies. Said certificates shall identify significant policy exclusions
that would have a bearing upon the Services provided under this Agreement.




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                   ARTICLE VI - BOOKS AND RECORDS: AUDIT RIGHTS

            6.1   Maintenance of Books and Records. NCO will keep proper books and records
reflecting all of its business affairs and transactions so that its financial statements, consolidated
with its affiliates, are in accordance with GAAP. NCO shall maintain its books and records
relating to activities under this Agreement throughout the term hereof and thereafter for such
periods as are required under applicable Requirements of Law or NCO's policy, whichever is
longer.

            6.2   Audit Rights.

                  (a)    Special Servicer shall have the right to review, inspect and audit, at
Special Servicer's expense, once each calendar year (or more than once in a calendar year in the
event that Special Servicer requires the review, inspection or audit in order to respond to a court
order, civil investigation demand or other government or regulatory agency inquiry), the books
and records of NCO related to: (i) NCO's activities hereunder or (ii) conformance with NCO's
obligations hereunder.

                  (b)    No later than thirty (30) days prior to the commencement of any review,
inspection or audit, Special Servicer shall provide to NCO written notice of its intent to perform
a review, inspection or audit, which notice shall include in reasonable detail the scope thereof
and the supporting documentation to be requested. Within fifteen (15) days of receipt of any
such notice, NCO shall notify Special Servicer, in writing of any objections to the scope of the
review, inspection or audit or the supporting documentation requested, it being understood that
any objections of NCO must be based upon a reasonable and documented belief that such
review, inspection, audit or documentation is not reasonably related to NCO's obligations under
this Agreement or would require the disclosure of proprietary information (other than
information that is proprietary solely as a result of this Agreement). Special Servicer and NCO
shall cooperate in good faith to resolve objections with respect to any review, inspection or audit
proposed by Special Servicer and such review, inspection or audit shall not commence until such
objections are resolved. In the event the parties are not able to resolve such objections, the
matter shall be resolved in accordance with the procedures set forth in Section 1 1 .2.

                  (c)    Any review, inspection or audit to be performed by Special Servicer
pursuant to this Section 6.2 shall be conducted only during normal business hours and with
reasonable advance notice, using reasonable care not to cause damage and not to interrupt the
normal business operations of NCO.

                  (d)    NCO will engage, at its sole expense, an unrelated American Institute of
Certified Public Accountants ("AICPA") certified public accounting firm acceptable to Special
Servicer to conduct reviews of NCO's general controls and practices associated with NCO's
facilities and Subservicers facilities engaged in providing Services, as well as the controls
associated with the services and the programs used to provide Services. The scope of the audit
shall include all such matters as NCO's auditor deems necessary or required to meet regulatory
compliance standards, including but not limited to an examination of the record keeping system
and other equipment and software used by NCO. Such reviews shall be performed at such
frequency and times as NCO shall determine, but shall be performed at least once annually.
Within thirty (30) days of its receipt by NCO, NCO shall provide Special Servicer with a copy of
each report and the related working papers submitted by NCO's independent accountants
regarding any of the matters set forth in this paragraph. All such reviews shall comply with




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AICPA SAS-70 standards or equivalent thereof, and the reports obtained shall be of the type
generally referred to (depending on the publication) as either type "2" or "B", and shall include
an unqualified opinion on the operating effectiveness of NCO's controls. All such reviews shall
also comply with Security Standards Certification ISO 17799/BS7799 or equivalent thereof. If a
SAS 70 or equivalent audit reveals that the services provided by NCO do not cause NCO's
operations to meet the auditor's recommendation, then NCO shall promptly provide such further
services as are necessary to bring its operations into conformance with the auditor's
recommendations to such level and degree, at no cost to Special Servicer.

                6.3   Regulatory Agency Requirements.

                      (a)    NCO understands and acknowledges that Special Servicer may be subject
to examination by any federal, state or local governmental or quasi-governmental officials with
regulatory authority over Special Servicer and its affiliates. NCO agrees to cooperate fully with
any examination or inquiry by any such officials or other regulatory body or agency. NCO
further acknowledges that Special Servicer, as a regulated financial institution, is required to
engage in ongoing oversight of its relationship with NCO, including, but not limited to,
reviewing NCO's compliance with privacy laws and regulations, insurance coverage, and
performance under this Agreement. NCO agrees to notify Special Servicer promptly in writing in
the event it experiences any material adverse change, including but not limited to, material
financial difficulty, other catastrophic event, material change in strategic goals, or significant
staffing changes relative to its obligations under this Agreement.

                      (b)    Within thirty (30) days of its receipt, to the extent NCO is permitted to do
so, NCO shall provide Special Servi cer with a copy of the results of any audit performed by a
federal, state or local regulator, but only to the extent such audit relates to compliance by NCO
with applicable law and to the Services performed by NCO for Special Servicer hereunder. If
such audit reveals that the Services provided by NCO do not cause NCO's operations to meet the
auditor's recommendation, then NCO shall provide such further Services as are necessary to
bring its operations into conformance with the auditor's recommendations to such level and
degree, at no cost to Special Servicer.

                                  ARTICLE VII - CONFIDENTIALITY

                7.1   Confidentiality. NCO acknowledges and agrees that all information provided to
NCO by Special Servicer is considered confidential or proprietary and is provided to NCO solely
to enable NCO to perform the Services and related functions set forth in Article II of this
Agreement. For purposes of this Agreement, "Confidential Information" of Special Servicer
means all confidential or proprietary information and documentation and data (whether technical,
commercial or other in nature) of such party, whether or not marked as such and/or whether now
in existence or hereafter created including, without limitation all Borrower Data and any other
Trust data. For purposes of this Agreement, "Borrower Data" means any and all data and
information of any kind or nature provided to NCO by or on behalf of Special Servicer or arising
out of or in connection with this Agreement with respect or relating in any way to borrowers
individually or in the aggregate. NCO shall hold the Confidential Information of Special
Servicer in confidence and shall not disclose nor use such Confidential Information other than
for the purposes contemplated by this Agreement without prior written consent of Special
Servicer. Notwithstanding any provision in this Agreement to the contrary, NCO shall limit the
use and circulation of such information, even within its own organization, solely to the extent




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necessary to perform its obligations under this Agreement. Confidential Information shall not
include information that: (i) has been disclosed in the public domain prior to the date hereof; (ii)
becomes, through no fault nor action of either party, hereafter disclosed in the public domain;
(iii) is now or comes into the possession of NCO without any obligation of confidentiality.
Special Servicer acknowledges that NCO and/or its affiliates may have legitimately obtained
Borrower Data through prior relationships and that such data is held under restrictions arising out
of such relationships and not under this Agreement. In addition, the substance of the
negotiations of this Agreement and the terms of this Agreement are Confidential Information
subject to the restrictions contained in this Agreement. NCO shall not be considered to have
breached its obligation by disclosing Confidential Information of the Special Servicer in
response to the order of any competent court or governmental agency; provided, however, that
upon receipt of such order, NCO shall promptly provide to the Special Servicer notice of such
request to enable the Special Servicer to seek an appropriate protection order or take other action
to assure the confidential handling of the Confidential Information. All such Confidential
Information shall remain the exclusive property of Special Servicer.

            7.2       Restricted Use. NCO agrees not to utilize any Confidential Information, unless it
is necessary to do so in order to fulfill an obligation under this Agreement. NCO also agrees that
it will not sell, disclose, transfer, or rent any Confidential Information to any third party nor will
it use any Confidential Information on behalf of any third party, without the express written
permission of Special Servicer. NCO shall provide all notices and perform all other activities
required of it to comply with the Gramm-Leach-Bliley Act and regulations promulgated
thereunder and any other applicable federal, state and local privacy laws in connection with the
Confidential Information received in connection with this Agreement.

        7.3    Injunctive Relief. NCO acknowledges that money damages may be both
incalculable and an insufficient remedy for any breach of this provision by NCO and that any such
breach may cause Special Servicer, the Trusts and others irreparable harm. Accordingly, NCO
agrees that in the event of any breach of this Article VII, Special Servicer or any Trust, in
addition to any other remedies at law or in equity that it may have, shall be entitled without
requirement of posting a bond or other security, to equitable relief, including injunctive relief and
specific performance without proof of actual damages.

                2.4   Information Protection and Security.

              (a)     NCO may receive or otherwise have access to Borrower Data in
connection with providing Services to Special Servicer pursuant to the terms of the Agreement.
NCO shall implement and maintain an appropriate security program for Borrower Data designed
to meet the following Objectives (defined below) of the Interagency Guidelines Establishing
Standards for Safeguarding Customer Information pursuant to the authority of Section 501 (b) of
the Gramm-Leach-Bliley Act of 1999. "Objectives" means a program designed to (i) ensure the
security and confidentiality of Borrower Data; (ii) protect against any anticipated threats or
hazards to the security or integrity to Borrower Data, and (iii) protect against unauthorized
access to or use of Borrower Data that could result in substantial harm or inconvenience to any
Special Servicer or any borrower. NCO shall provide Special Servicer on or prior to the Effective
Date and thereafter, upon request, with a copy of its Information Security and Assurance Policy
and any updates or amendments thereto. NCO agrees that upon reasonable notice and at NCO's
convenience, Special Servicer or any agent or representative thereof may come to NCO's place
of business and review the specifics of NCO's security plan with NCO. It is understood and




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agreed that NCO shall not be required to have a security program in place that implements every
security measure listed in each paragraph of Section III C of Appendix A to 12 CFR § 30
provided that NCO's security program is appropriate to address the level of risk and otherwise
meets the Objectives. Special Servicer, its internal and external auditors and regulatory agencies
("Auditors") shall be permitted, during normal business hours, to audit NCO's security program
upon provision of reasonable prior notice and provision of an agenda for the audit requirements.
NCO shall be subject to said audits as long as NCO continues to maintain, store or have access
to Borrower Data.

               (b)     NCO presently maintains and agrees it will continue to maintain
appropriate physical, electronic, procedural and technical safeguards to protect all Borrower Data
from unauthorized disclosure, misuse, alteration, destruction or other compromise that are
consistent with appropriate industry practices and no less stringent than those used to protect the
Confidential Infonnation of NCO.

               (c)     As part of its information security program, NCO shall take appropriate
measures to properly dispose of Borrower Data. These measures will include, at a minimum;

                       i.      Burning, pul verizing or shredding of papers containing
                               Borrower Data so that the Borrower Data cannot practicably
                               be read or reconstructed;

                       ii.     Ensuring the destruction or erasure of electronic media
                               containing Borrower Data so that the Borrower Data cannot
                               practicably be read or reconstructed; and/or

                       iii.    Ensuring that any third party who performs the activities
                               described in (i) and (ii) on behalf of NCO above does so in
                               a manner consistent with this Section.

               (d)     NCO shall ensure that it does not retain Confidential Information of
Special Servicer for longer than it needs such infonnation to perform its obligations hereunder.
NCO's disposal policy shall require that such information is reviewed and destroyed on a routine
basis consistent with NCO's disposal policy. NCO shall, upon the reasonable request of Special
Servicer, provide to Special Servicer the certificate of destruction as prescribed by Special
Servicer. It is understood that information sent in an intangible or electronic format cannot be
removed, erased or otherwise deleted from archival systems (also known as "computer or system
back-ups") but that such information will continue to be protected under the confidentiality
requirements contained in this Agreement for as long as such infonnation remains accessible
and/or vulnerable to unauthorized access use or disclosure. Notwithstanding anything to the
contrary contained herein, NCO may retain an archival copy of any document for its pennanent
records to the extent required by applicable law or regulation of NCO's document retention
policy. The rights and obligations of the parties under this Agreement will survive any return or
destruction of Confidential Information.

               (e)     NCO shall have in place and follow a routine destruction policy for all
Confidential Information of Special Servicer (whether in electronic, paper or other fonn) related
to NCO's performance under this Agreement. No such materials will be retained longer than
such period as is set forth in NCO's policy period for retention unless mandated under this
Agreement or by applicable law.




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                7.5   Security Breach. In the event NCO knows or reasonably believes that there has
been any unauthorized acquisition of or access to data that compromises the security,
confidentiality, or integrity of Borrower Data maintained by or for NCO (a "Breach"), NCO
shall take the following actions:

                      (a)    Notify Special Servicer of such breach as soon as practicable;

                      (b)    Identify to Special Servicer, at no cost to Special Servicer, what specific
                             Borrower Data, by borrower and/or account number has or may have been
                             breached;

                      (c)    Monitor, or cause to be monitored at NCO's sole expense, any affected
                             accounts for any unusual acti vity for a period of 12 months from the
                             discovery of the breach;

                      <d)    Take such commercially reasonable measures, at the sole cost of NCO, as
                             may be requested by the Special Servicer to contain and control the
                             incident to prevent further unauthorized access;

                      (e)    Remedy the circumstances that permitted such breach to occur; and

                      (f)    Cooperate with Special Servicer as necessary to facilitate Special
                             Servicer's compliance with any applicable Federal or state law regarding
                             unauthorized access of Borrower Data.

                      In addition to and not by way of limitation of any and all damages for which NCO
is or may become obligated under this Agreement to pay to owner (i.e., the applicable Trust),
NCO shall fully reimburse Special Servicer for the actual costs of mailing notices to individuals
whose data has or may have been breached, to the extent such breach is the result of NCO's
breach of this Agreement, NCO's failure to conform to applicable law, or NCO's negligence.

                      The obligations contained in this Section 7.5 shall survive the termination of this
Agreement.

                        ARTICLE VIII - INDEMNIFICATION AND EXCLUSION

                8.1   Indemnity.

                      (a)    NCO shall defend, indemnify and hold harmless Special Servicer and the
applicable Trust, or any affiliate or subsidiary of Special Servicer or any Trust (each an "Special
Servicer Indemnified Party") from and against any and all damages arising out of or resulting
from third party claims relating to (i) the breach of any representation or warranty, covenant or
agreement of NCO contained in this Agreement; (ii) any inaccurate information or inaccurate
materials provided by NCO to Special Servicer in connection with providing the Services. In
addition, NCO shall reimburse Special Servicer for all costs incurred by Special Servicer
resulting from third party investi gation of the acts and practices of NCO, including expenses
related to compliance with any third party subpoena or with any other discovery proceeding, if
such investigation is due to the negligent act of N CO or breach of this Agreement by NCO.

                      (b)    NCO shall defend, indemnify and hold harmless each Special Servicer
Indemnified Party from and against all damages arising out of or resulting from any action by a
third party against such Special Servicer Indemnified Party that is based on any claim that any




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intellectual property used in the performance of this Agreement infringes a patent, copyright, or
trademark or violates a trade secret or other proprietary right of any person or entity.

                      (c)    Special Servicer shall defend, indemnify and hold harmless NCO or any
affiliate or subsidiary of NCO (each a "NCO Indemnified Party") from and against all damages
ari sing out of or resulting from any action by a third party against such NCO Indemnified Party
that is based on any claim resulting from (i) the breach of any representation or warranty,
covenant or agreement of Special Servicer contained in this Agreement; (ii) any information or
materials provided by Special Servicer to NCO for use in providing the Services; or (iii) the
nature or use of Special Servicer's products or services. In addition, Special Servicer shall
reimburse NCO for all costs incurred by NCO resulting from third party investigation of the acts
and practices of Special Servicer, its subsidiaries and affiliates, including expenses related to
compliance with any third party subpoena or with any other discovery proceeding.

                      (d)    An indemnified party which intends to claim indemnification under
Section 8.1 shall promptly notify the indemnitor in writing of any action, claim or liability with
respect to which the indemnified party intends to claim such indemnification. The indemnified
party shall permit the indemnitor, at its discretion, to settle any such action, claim or liability and
agrees to the control of such defense or settlement by the indemnitor; provided, however, such
settlement does not adversely affect the indemnified party's rights hereunder or impose any
obligations on the indemnified party in addition to those set forth herein in order for it to exercise
such rights. No such action, claim or liability shall be settled without the prior written consent of
the indemnitor and the indemnitor shall not be responsible for any attorneys' fees or other costs
incurred other than as provided herein. The indemnified party shall cooperate fully with the
indemnitor and its legal representatives in the investigation and defense of any action, claim or
liability covered by this indemnification. The indemnified party shall have the right, but not the
obligation, to be represented by counsel of its selection and expense

                      (e)    This provision shall not be construed to limit the rights, obligations,
liabilities, claims or defenses of either party or any indemnified party which ari se as a matter of
law or pursuant to any other provision of this Agreement.

                8.2   Exclusions from Liability.

                      (a)    Except as provided in this Article VIII, in no event shall NCO or Special
Servicer be liable for consequential, incidental, punitive, special, or indirect damages.

                      (b)    Except as otherwise provided herein, neither party's liability hereunder
shall exceed an amount equal to the service fees payable by Special Servicer to NCO in the
month immediately preceding the claim to which such liability relates, multiplied by twelve (12).

                      (c)    The limitation of liability provisions of subsections 8.2(a) and 8.2(b) do
not apply to liability that is the result of either party's breach of (i) the confidentiality, privacy, or
security obligations or provisions contained in this Agreement or (ii) such party's
indemnification obligations.

                      (d)    The limitation of liability provisions of subsections 8.2(a) and 8.2(b) also
do not apply to any third party claim against an indemnified party arising out of the indemnifying
party's failure to comply with the terms and conditions of this Agreement, if such claim results
in such indemnified party being liable for consequential, incidental, special or indirect damages




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to such third party. Such damages will be considered to be direct damages incurred by the
indemnified party.

            The obligations set forth in this Article VIII shall survive termination or expiration of this
Agreement.

                              ARTICLE IX - TERM AND TERMINATION

            9.1       Term of Agreement.

               (a)     The initial term of this Agreement shall commence as of the Effective
Date and shall continue in effect for a period of three (3) years, unless sooner terminated
pursuant to Section 9.2 (the "Initial Term"!.

                      (b)    Upon conclusion of the Initial Term or any succeeding term, this
Agreement shall automatically renew for an additional, successive one (1) year term, unless
either party shall give a written notice of non-renewal to the other party not less than ninety (90)
days prior to the conclusion of such term.

            9.2       Termination for Cause. Either party may terminate this Agreement upon the
occurrence of any of the following events, by delivery of a written notice of termination to the
other party:

                      (a)    NCO shall file, or after the Effective Date, Special Servicer shall file, a
petition to take advantage of any applicable insolvency or reorganization statute; or shall file a
petition or answer seeking or shall consent to the appointment of a conservator or receiver or
liquidator in any insolvency, readjustment of debt, marshaling of assets and liabilities or similar
proceedings of or relating to such party or relating to all or substantially all of its property; or a
decree or order of a court or agency or supervisory authority having jurisdiction in the premises
for the appointment of a conservator or receiver or liquidator in any insolvency, readjustment of
debt, marshaling of assets and liabilities or similar proceedings, or the winding-up or liquidation
of its affairs, shall have been entered against such party, which decree or order entered against
such party shall have remained in force undischarged or unstayed for a period of sixty (60) days;
or such party shall be insolvent, admit in writing its inability to pay its debts generally as they
become due, make an assignment for the benefit of its creditors or voluntarily suspend payment
of its obligations; or

                      (b)    Any other party shall fail to perform any of its obligations or shall breach
any of its representations, warranties or covenants in this Agreement, including without
limitation representations and warranties set forth in Article IV (Representations and
Warranties), covenants set forth in Article V (General Covenants), or Article VII
(Confidentiality), in any material respect and such failure or breach continues unremedied after
the expiration of thirty (30) days (or such shorter period that is reasonable depending on the
materiality of the failure or breach or the potential significance of its impact on the other party)
following written notice to such party specifying the nature of such failure or breach and stating
the intention of the terminating party to terminate this Agreement absent a cure of such failure or
breach within such thirty (30) day (or shorter) period.

                9.3   Termination of Specific Accounts.




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                        (a)    Special Servicer may terminate this Agreement with regards to individual
accounts at any time, and NCO shall close and return such accounts to Special Servicer
immediately.

                        (b)    If a borrower should enter into bankruptcy voluntarily or involuntarily at
any time after his or her account is referred to NCO, NCO will immediately notify Special
Servicer and this Agreement will be deemed terminated as to such account unless Special
Servicer otherwise directs in writing

                        (c)    With respect to default Collection Services, this Agreement shall terminate
automatically as to any account at six (6) months from the date the account was referred to NCO,
or from date of last payment, whichever is later, or nine (9) months on Third Placements, unless
at such time the account has been referred to an attorney for litigation and litigation is pending.
NCO will upon termination as to an account forthwith send to Special Servicer, at Special
Servicer's request and at NCO's expense all documentation on the account, including a full
record of all collection activities.

                9-4     Rights and Obligations Upon Notice of Termination.

                        (a)    Requirements Upon Termination. Upon the termination or expiration of
this Agreement, NCO shall cease all Services and subject to the data security provisions in
section 7.4 herein, return to Special Servicer or destroy all Confidential Information within thirty
(30) days from the date of termination or as otherwise mutually agreed upon by the parties in
writing. Notwithstanding the foregoing, NCO shall be permitted to retain certain files pursuant
to Section 6. 1 . If applicable, NCO shall also provide to Special Servicer a final reconciliation of
all amounts collected by Subservicers, collect all original files from Subservicers, and transmit
all such files to Special Servicer. NCO shall report to Special Servicer its record of all account
balances of all ASLs that were the subject of Default Collection Services at the time of
termination.

                        (b)    Survival. The provisions of Sections 5.2, 9.4, Article VII, and Article VIII
shall survive the termination or expiration of this entire Agreement.

                        (c)    Final Invoice. NCO shall send to Special Servicer a final invoice for
Services performed within thirty (30) days of termination of this Agreement.

                ARTICLE X - DISASTER RECOVERY AND BUSINESS CONTINTUITY

                10. 1   NCO shall maintain and shall test at least once annually plans to continue
business in the event of an interruption to its business or unavailability of any site from which
Services are being performed (the "Disaster Recovery/Business Continuity Plans"). NCO agrees
to maintain viable Disaster Recovery/Business Continuity Plans for the Services which includes,
among other things, provision for the remote storage of computer software and data, the
availability of a location for off-site computer services and procedures covering all of NCO's
facilities used in connection with the Services in order to insure continuance of Services in the
event of a disaster affecting any such NCO facility and storage of a complete system image tape
of both object code and source code for software at an off-site storage location designated by
NCO and disclosed to Special Servicer. In the event of a natural or other disaster beyond NCO's
control that interrupts NCO's performance of any such Services for any period, NCO shall
promptly respond to such disaster in accordance with the procedures contained in the Disaster
Recovery/Business Continuity Plans in order to resume performance of such Services.




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                10.2    NCO shall annually test its Disaster Recovery/Business Continuity Plans and shall
update in a timely manner such Disaster Recovery/Business Continuity Plans. NCO shall
provide Special Servicer with a summary report of the results of such testing annually. If Special
Servicer requests, it shall be permitted to participate in NCO's testing of its Disaster
Recovery/Business Continuity Plans to the extent such test relates to Services provided to
Special Servicer.

                1 0.3   Prior to execution of this Agreement, NCO shall provide a copy of its Disaster
Recovery/Business Continuity Plans to Special Servicer (including in electronic form). Any
material changes to NCO's Disaster Recovery/Business Continuity Plans will be subject to
Special Servicer's prior written consent which shall not be unreasonably withheld and will
conform to reasonable commercial and industry standards for such plans. Special Servicer, or its
designated representative, shall be entitled to review such Disaster Recovery/Business
Continuity Plans annually during the term of this Agreement at NCO's corporate headquarters.

                10.4    Notwithstanding any provision in this Agreement to the contrary, NCO's Disaster
Recovery/Business Continuity Plans required under this Agreement must meet Special Servicer's
Recovery Time Objective ("RTO") and Recovery Point Objective ("RPO") for the business
function being serviced, as defined below, unless events or circumstances beyond NCO's control
prevent NCO from implementing its Disaster Recovery/Business Continuity Plans:

                        Services will be available within a forty-eight (48) hour period following any
                        outage/incident (RTO = 48 hours), with at least 99.99% preservation of data
                        (RPO = 99.99) through the close of business on the day preceding the
                        outage/incident.

      10.5   NCO shall, as soon as practicable, notify Special Servicer of any interruption to
NCO's business or unavailability of any site from which Services are being performed. As soon
as possible (and in no event more than twenty-four (24) hours) following any such interruption
or unavailability, NCO shall provide detailed information to Special Servicer concerning NCO's
implementation of its Disaster Recovery/Business Continuity Plans, the effecti veness of such
implementation, and the impact of the interruption or unavailability on the RTO, the RPO and
the performance standards set forth in Exhibits B, D and H.

                                       ARTICLE XI - MISCELLANEOUS

                11.1    Notice Procedure: Addresses. All notices, demands and other communications
hereunder shall be in writing and shall be deemed to have been duly given and received at the
time delivered by hand, if personally delivered; when receipt is acknowledged, if mailed by
certified mail, postage prepaid, return receipt requested; the next business day after timely
delivery to the courier, if sent by overnight air courier guaranteeing next-day delivery; and when
received, if sent by any other means, as follows:



                        If to initial Special Servicer:




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                                                          23
                         First Marblehead Education Resources, Inc.

                         Attn: General Counsel, Corporate Law Department

                         800 Boylston St., 34th Floor
                         Boston, Massachusetts 02199

                         IftoNCO:

                         NCO Financial Systems, Inc.

                         Attn: Joshua Gindin, Esq.

                         Executive Vice President and General Counsel

                         507 Prudential Road

                         Florsham, Pennsylvania 19044



                The persons or addresses to which mailings or deliveries shall be made may be changed
from time to time by notice given pursuant to the provisions of this Section 11.1.

                11.2     Mediation: Arbitration. Except in the case of a third party action, the parties
agree that any controversy or claim arising out of or related to this Agreement, including an
alleged breach hereof, shall first be settled through negotiation, if possible. If negoti ation is not
successful, the parties agree to then try in good faith to settle such dispute by non-binding
mediation under the then current Commercial Mediation Rules of the American Arbitration
Association. In the event that such mediation does not resolve the dispute to the mutual
satisfaction of the parties, then the parties agree to settle such dispute by binding arbitration to be
held in Cincinnati, Ohio, in accordance with the then current Commercial Arbitration Rules of
the American Arbitration Association, and judgment upon the award rendered by the arbitrator(s)
may be entered in any court having jurisdiction thereof.

                11.3     Press Releases. No party shall issue any press release or other announcement
regarding the subject matter of this Agreement without the consent of the other party, which
consents shall not be unreasonably withheld, unless a party refuses to consent and the party
desiring to issue the release or other announcement is advised by its legal counsel that the press
release or other announcement is required in order to comply with Requirements of Law.
Notwithstanding the foregoing, the parties contemplate that a press release regarding the
execution of this Agreement may be executed, and the parties shall cooperate with respect to the
drafting of mutually acceptable language.

                1 1 .4   Relationship of the Parties. The parties agree that in carrying out their
responsibilities pursuant to this Agreement they are in the position of independent contractors.
This Agreement is not intended to create, nor does it create and shall not be construed to create, a
relationship of partners or joint venturers, fiduciaries or any association for profit between and
among the parties or any of their respecti ve affiliates.

                NCO acknowledges that it may not be the exclusive collector for Special Servicer and
that Special Servicer, in the exercise of its sole discretion, may submit the accounts to more than
one collector (but not the same account to different collectors) in a specific geographic location.
Special Servicer, in the exercise of its sole discretion, likewise may by oral or written notice,




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require NCO to cease its collection efforts and return to Special Servicer any or all of the
accounts.

                11.5     Expenses. Except as is otherwise specifically provided in this Agreement, each
party shall pay its own costs and expenses in connection with this Agreement and the
transactions contemplated hereby, including but not by way of limitation, all regulatory fees,
attorneys' fees, accounting fees and other expenses.

                1 1 .6   Successors and Assigns. All terms and provisions of this Agreement shall be
binding upon and shall inure to the benefit of Special Servicer and NCO, and each of their
respective permitted transferees, successors and assigns. Except as set forth in this Agreement,
no party may assign any of its rights or obligations under this Agreement (whether by operation
of law or otherwise) without the prior written consent of the other party; provided, however, that
no prior written consent of the other party is required in the event that (a) Special Servicer
experiences a merger or consolidation with or into or a reorganization between and among the
wholly-owned subsidiaries of its ultimate parent company, or (b) Special Servicer seeks to assign
this contract to any operating subsidiary. Nothing in this Agreement is intended to create or
grant any right, privilege or other benefit to or for any person or entity, other than the parties
hereto and their permitted transferees, successors or assigns.

                         Notwithstanding the foregoing, the parties hereto acknowledge that U.S. Bank as
the Back-Up Special Servicer under the Special Servicing Agreement is an express third-party
beneficiary of this Agreement and that upon the Effective Date, the Back-Up Special Servicer as
successor Special Servicer under the Special Servicing Agreement shall become the "Special
Servicer" under this Agreement. It is further acknowledged and agreed that fees, expenses and
other amounts payable to NCO under this Agreement, including without limitation, indemnity
payments, shall be payable by the Trusts as provided in the Special Servicing Agreement. U.S.
Bank as Special Servicer shall not be personally liable for payment of any such indemnity,
indebtedness, fees or expenses (except to the extent it is reimbursed for same by each Trust).

                11.7     Multiple Counterparts. This Agreement may be executed in multiple
counterparts, each of which shall be deemed an original for all purposes and all of which shall be
deemed, coll ectively, one agreement, but in making proof hereof it shall not be necessary to
exhibit more than one such counterpart.

                11.8     Drafting. Each party acknowledges that its legal counsel participated in the
drafting of this Agreement. The parties hereby agree that the rule of construction that
ambiguities are to be resolved against the drafting party shall not be employed in the
interpretation of this Agreement to favor one party over any other.

                11-9     Captions. The captions, headings and arrangements used in this Agreement are
for convenience only and do not in any way affect, limit or amplify the terms and provisions
hereof.

                11.10    Entire Agreement: Amendments. The making, execution and delivery of this
Agreement by the parties have been induced by no representations, warranties, statements or
agreements other than those herein expressed. This Agreement embodies the entire
understanding of the parties, and there are no further or other agreements or understandings,
written or oral, in effect among the parties relating to the subject matter hereof. This Agreement
may be amended or modified only by a written instrument signed by each of the parties and,




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prior to the Effective Date, with the consent of the Back-Up Special Servicer. None of the
parties shall be deemed to have waived any of its rights, powers or remedies under this
Agreement unless such waiver is approved in writing by an authorized representative of the
waiving party.

         11.11 Waivers. The waiver of any term hereof shall be binding only when committed to
writing and signed by the parties hereof. Failure by either party of this Agreement to insist upon
the strict performance of any term or condition hereunder or to exercise any right, power or
remedy available on a breach thereof, shall not constitute a waiver of any breach of such term,
covenant or condition. No waiver, whether express or implied, shall be construed as a waiver of
the same or any other term, condition or right or any other occasion.

                11.12   Severability. Whenever possible, each provision of this Agreement will be
interpreted in such manner as to be effective and valid under applicable Requirements of Law,
but if any provision of this Agreement is held to be prohibited by or invalid under applicable
Requirements of Law, such provision will be ineffective only to the extent of such prohibition or
invalidity, without invalidating the remainder of such provision or the remaining provisions of
this Agreement.

                11.13   GOVERNING LAW. THIS AGREEMENT SHALL BE GOVERNED BY, AND
CONSTRUED IN ACCORDANCE WITH, THE INTERNAL LAWS OF THE STATE OF
OHIO, WITHOUT GIVING EFFECT TO ANY CHOICE OR CONFLICT OF LAW
PROVISION OR RULE THAT WOULD CAUSE THE APPLICATION OF LAWS OF ANY
JURISDICTION OTHER THAN TO THOSE OF THE STATE OF OHIO. EACH PARTY
WAIVES ITS RIGHT TO A JURY TRIAL WITH RESPECT TO ANY ACTION OR CLAIM
ARISING OUT OF ANY DISPUTE IN CONNECTION WITH THIS AGREEMENT, ANY
RIGHTS OR OBLIGATIONS HEREUNDER OR THE PERFORMANCE OF ANY SUCH
RIGHTS OR OBLIGATIONS.

                11.14   Force Majeure. In the event that either party shall be prevented from performing
any of its obligations due under the terms of this Agreement by an act of God, acts of war, civil
riot, an act of State, strikes, or occurrence of any other event beyond the control of the parties
hereto, that party shall be excused from any further performance of the obligations and
undertakings set forth under the terms of this agreement with the exception of those obligations
described in Articles III, VII, VIII, X, and Sections 5.2, 1 1.2, and 9.4(b), and provided, further,
that NCO could not reasonably circumvent the failure orderly through the use of commercially
reasonable alternate services, unrevoked plans or other means. Notwithstanding any provision is
this Agreement to the contrary, a force majeure event shall obligate and require NCO to
commence its Disaster Recovery/Business Continuity Plan as set forth in Article X.

        11.15 Cooperation/Consents. The parties agree to cooperate with each other for the
purposes contemplated by this Agreement. NCO shall execute and deliver to Special Servicer at
any time such further documents, instruments and/or consents which Special Servicer may
require in such form as Special Servicer may reasonably request to effectuate the performance of
the Services contemplated by this Agreement.



                                       [Remainder of page intentionally left blank.]




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IN WITNESS WHEREOF, the parties have executed and delivered this Agreement, as of the
day and year first above written, to be effective as of the Effective Date.



                           FIRST MARBLEHEAD EDUCATION RESOURCES, INC.


                                  fl
                           By:

                           Its:



                           NCO FINANCIAL SYSTEMS. INC.



                           By:

                           Its:




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IN WITNESS WHEREOF, the parties have executed and delivered this Agreement, as of the
day and year first above written, to be effective as of the Effective Date.



                               FIRST MARBLEHEAD EDUCATION RESOURCES, INC.



                               By:

                               Its:



                               NCO FINANCIAL SYSTEMS, INC.



                               By:

                               Its: ExedSutivirvice President
                               Date: 3-10-09




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                                                SECOND AMENDMENT TO
                      DEFAULT PREVENTION AND COLLECTION SERVICES AGREEMENT



                This   Second Amendment to Default Prevention and Collection Services Agreement (this
"Amendment") is entered into by and between First Marblehead Education Resources, Inc. ("FMER"), a
Delaware corporation with a principal place of business at 800 Boylston St., 34th Floor, Boston, MA
02199 (together with its successors and assigns, the "Special Servicer") and NCO Financial Systems, Inc.,
a corporation organized under the laws of the Commonwealth of Pennsylvania having a place of business
at 507 Prudential Road, Horsham, PA 19044 (together with its successors and assigns, "NCO"), and
amends that certain Default Prevention and Collection Services Agreement entered into by and between
FMER and NCO and dated as of March 1, 2009, as amended by that certain First Amendment to Default
Prevention and Collection Services Agreement entered into by and between FMER and NCO and dated as
of May 1, 2009 (as amended, restated, supplemented or otherwise modified through the date hereof, the
"Agreement"). This Amendment is executed as of June 15, 2012.


                NOW, THEREFORE, in consideration of the premises set forth above, and other good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the parties hereto
hereby agree as follows:


                1.      Defined Terms. All capitalized terms in this Amendment shall have the same meanings
given to them in the Agreement, unless otherwise expressly stated herein.


                2.      Amendments of the Agreement.          The Agreement is hereby amended in the following
respects:


                2.1     The Agreement is amended by deleting each and every reference therein to "Early
Awareness Services."

                2.2      Section 1 . 1 of the Agreement is amended by deleting the definition of "Early Awareness
Services." Section 1 .1 of the Agreement is further amended by inserting the following definitions:

                         U6C
                               Claims Package" means a credit agreement or promissory note."

                2.3     The third sentence of Section 2.1 of the Agreement is amended by deleting the phrase
"Servicing Agreement" and inserting "Special Servicing Agreements" in lieu thereof.

                2.4      Section 2.3 of the Agreement is amended by deleting the third sentence in its entirety and
the following shall be inserted in lieu thereof:

                        "Special Servicer shall cause the Servicers to provide to NCO all documents and
                        information specified in the Servicing Agreements and/or Servicing Guidelines."

                2.5      Section 2.3(a)(i) of the Agreement is hereby deleted in its entirety and the following shall
be inserted in lieu thereof:

                        "[Reserved]"


                2.6     The first sentence of Section 2.3(a)(i)(iii) of the Agreement is amended by deleting the
phrase "with a Claims Package" so that the first sentence of Section 2.3(a)(iii) of the Agreement reads, in
its entirety, as follows:




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                       "From time to time Special Servicer may instruct NCO with respect to collection costs,
                       default interest rates and other adjustments to be made to account balances submitted
                       pursuant to Special Servicer's direction by Servicers to NCO ("Default Charges")."

                2.7    Section 2.4 of the Agreement is amended by deleting the third sentence in the second
paragraph in its entirety.


                2.8    Section 2.4(e) of the Agreement is hereby deleted in its entirety and the following shall
be inserted in lieu thereof:

                       "Settlement authority given to NCO is described in Exhibit D attached hereto. Special
                       Servicer agrees to designate a business contact with authority to review and approve
                       collection settlement proposals with NCO."

                2.9    Section 2.8 of the Agreement is hereby deleted in its entirety and the following shall be
inserted in lieu thereof:

                       "[Reserved]"

                2.10   Article II of the Agreement is amended by inserting a new Section 2.9 in between Section
2.8 and Section 2.10 as follows:

                       "2.9    [Reserved]"

         2.1 1   Section 4.1(a) of the Agreement is amended by deleting the phrase "a national banking
association organized, validly existing and in good standing under the laws of the United States" and
inserting "a corporation duly organized, validly existing and in good standing under the laws of the State
of Delaware" in lieu thereof.

                2.12   Section 5.2(b)(vii) is amended by deleting the phrase "Paragraph 23(a)" and inserting
"Section 5.2(b)" in lieu thereof.

                2.13   Section 9.1 of the Agreement is hereby deleted in its entirety and the following shall be
inserted in lieu thereof:

                       "(a)    The initial term of this Agreement shall commence as of the Effective Date and
                       shall continue in effect for a period of one (1) year, unless sooner terminated pursuant to
                       Section 9.2 (the "Initial Term").


                       (b)     Upon conclusion of the Initial Term or any succeeding term, this Agreement
                       shall automatically renew for an additional, successive one (1) year term, unless (i) either
                       party shall give written notice of non-renewal to the other party not less than ninety (90)
                       days prior to the conclusion of such term or (ii) sooner terminated pursuant to Section
                       9.2.


                       (c)   Upon conclusion of the Initial Term, Special Servicer may terminate this
                       Agreement at any time by providing thirty (30) days prior written notice to NCO.

        2.14    Section 1 1.6 of the Agreement is amended by deleting the first paragraph in its entirety
and the following shall be inserted in lieu thereof:

                       "All terms and provisions of this Agreement shall be binding upon and shall inure to the
                       benefit of Special Servicer and NCO, and each of their respective permitted transferees,
                       successors and assigns. NCO may not assign any of its rights or obligations under this




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                       Agreement (whether by operation of law or otherwise) without the prior written consent
                       of Special Servicer. Special Servicer may assign any of its rights or obligations under
                       this Agreement (whether by operation of law or otherwise) without the prior written
                       consent of NCO. Nothing in this Agreement is intended to create or grant any right,
                       privilege or other benefit to or for any person or entity, other than the parties hereto and
                       their permitted transferees, successors or assigns."

        2.15    The Table of Exhibits to the Agreement is amended by deleting such table in its entirety
and the following shall be inserted in lieu thereof:

                       "Exhibit A -Servicer File Data - Default Prevention
                       Exhibit B - Default Prevention Services
                       Exhibit C - Default Prevention Reports
                       Exhibit D - Default Collection Services
                       Exhibit E - Default Collection Reports
                       Exhibit F - Bankruptcy Services
                       Exhibit G - [Reserved]
                       Exhibit H- Fees to NCO
                       Exhibit I - Trusts"

                2.16   Exhibit A to the Agreement is amended by deleting the last sentence on Exhibit A in its
entirety.

        2.17    Exhibit B to the Agreement is hereby deleted and replaced in its entirety with the form of
Exhibit B attached to this Amendment.

                2.18   Exhibit C to the Agreement is amended by deleting "120" and inserting "180" in lieu
thereof.

        2.19    Exhibit D to the Agreement is hereby deleted and replaced in its entirety with the form of
Exhibit D attached to this Amendment.

        2.20    Exhibit F to the Agreement is hereby deleted and replaced in its entirety with the form of
Exhibit F attached to this Amendment.

        2.21      Exhibit G to the Agreement is hereby deleted in its entirety and the following shall be
inserted in lieu thereof:

                       "[Reserved]"

        2.22    Exhibit FI to the Agreement is hereby deleted and replaced in its entirety with the form of
Exhibit H attached to this Amendment.

                2.23   The Agreement is hereby amended by inserting a new Exhibit I in the form of Exhibit I
attached to this Amendment.

               Effect of Amendment. This Amendment shall be effective as of the date first set forth
                3.
above. Except as expressly amended in this Amendment, all terms and provisions contained in the
Agreement shall continue in full force and effect, without modification.

        4.      Multiple Counterparts. This Amendment may be executed in multiple counterparts, each
of which shall be deemed an original for all purposes and all of which shall be deemed, collectively, one
agreement, but in making proof hereof it shall not be necessary to exhibit more than one such counterpart.




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Delivery of an executed counterpart of this Amendment by facsimile or pdf electronic transmission shall
be deemed as effective as delivery of an originally executed counterpart.

     5.    GOVERNING LAW.   THIS AMENDMENT SHALL BE GOVERNED BY, AND
CONSTRUED IN ACCORDANCE WITH, THE INTERNAL LAWS OE THE STATE OF OHIO,
WITHOUT GIVING EFFECT TO ANY CHOICE OR CONFLICT OF LAW PROVISION OR RULE
THAT WOULD CAUSE THE APPLICATION OF LAWS OF ANY JURISDICTION OTHER THAN
TO THOSE OF THE STATE OF OHIO.EACH PARTY WAIVES ITS RIGHT TO A JURY TRIAL
WITH            RESPECT   TO   ANY   ACTION
                              OR CLAIM ARISING OUT OF ANY DISPUTE IN
CONNECTION WITH THIS AGREEMENT, ANY RIGHTS OR OBLIGATIONS HEREUNDER OR
THE PERFORMANCE OF ANY SUCH RIGHTS OR OBLIGATIONS.

                                 [Remainder of page intentionally left blank]




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        IN WITNESS WHEREOF, the parties hereto have caused this First Amendment to the Default
Prevention and Collection Services Agreement to be executed as of the date first written above.




                                           FIRST MARBLEHEAD EDUCATION RESOURCES,
                                           INC.



                                           By:         /%


                                           Name: -Sefii upmer
                                           Title: PrelSent


                                           NCO FINANCIAL SYSTEMS, INC.



                                           By:
                                           Name: John R. Schwab
                                           Title: Executive Vice President




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        IN WITNESS WHEREOF, the parties hereto have caused this First Amendment to the Default
Prevention and Collection Services Agreement to be executed as of the date first written above.




                                           FIRST MARBLEHEAD EDUCATION RESOURCES,
                                           INC.



                                           By:
                                           Name: Seth Gelber
                                           Title: President




                                           NCO FIN.      HAL SYSTEMS, INC.



                                           By:,
                                           Nam/: /John R. Schwab
                                           Title: Executive Vice President




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